                   Case 23-10961-BLS                  Doc 225         Filed 08/29/23            Page 1 of 4




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

 In re:
                                                                    Chapter 11
 WILLIAMS INDUSTRIAL SERVICES
 GROUP INC., et al.,1                                               Case No. 23-10961-BLS

                                                                    (Jointly Administered)
             Debtors.
                                                                    Re. Docket No. 140, 220


             ORDER GRANTING DEBTORS’ APPLICATION FOR AN ORDER
          AUTHORIZING THE RETENTION AND EMPLOYMENT OF THOMPSON
             HINE LLP AS COUNSEL TO THE DEBTORS AND DEBTORS-IN-
               POSSESSION NUNC PRO TUNC TO THE PETITION DATE

          Upon the application (the “Application”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order authorizing the Debtors to employ

Thompson Hine LLP (“Thompson Hine”) as their bankruptcy counsel, nunc pro tunc to the Petition

Date, and the declarations of (a) Alan R. Lepene, a partner at Thompson Hine (the “Lepene

Declaration”, and (b) the Supplemental Declaration of Sean A. Gordon, a partner at Thompson Hine

(the “Gordon Declaration,” and together with the Lepene Declaration, collective, the “Declarations”)

filed in support of the Application; the Court having reviewed the Application and Declarations; and

the Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and venue

being proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core

proceeding under 28 U.S.C. § 157(b)(2); and notice of the Application being sufficient under the



1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include:

Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666), Williams Industrial Services,
LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC (9578), WISG Electrical, LLC (6918),
Construction & Maintenance Professionals, LLC (0925), Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177),
GPEG LLC (5707), Global Power Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N.
3510), and WISG Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service address is: 200
Ashford Center N, Suite 425, Atlanta, GA 30338.
2 Capitalized terms used but undefined herein have the meanings ascribed in the Application.




00057526.2
                Case 23-10961-BLS         Doc 225      Filed 08/29/23      Page 2 of 4




circumstances; and it appearing that no other or further notice need be provided; and it appearing

that Thompson Hine is “disinterested” within the meaning of 11 U.S.C. § 101(14), it does not hold

or represent an interest adverse to the estate, and it has satisfied the requirements of 11 U.S.C. § 327

and Rule 2014 of the Federal Rules of Bankruptcy Procedure; and all capitalized terms used in this

Order and not otherwise defined herein shall have the meaning given them in the Application; and

the Court having determined that the relief sought in the Application is in the best interests of the

Debtors, their estates and creditors; and after due deliberation and sufficient cause appearing

therefor; IT IS HEREBY ORDERED THAT:

         1.     The Motion is granted to the extent set forth herein.

         2.     All objections to the entry of this Order, to the extent not withdrawn or settled, are

overruled.

         3.     The Debtors are authorized to employ and retain Thompson Hine nunc pro tunc to

the Petition Date for the following purposes:

                (a)    assisting the Debtors in the preparation of motions and filings required by
         the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any order of this
         Court;

                (b)     assisting the Debtors with respect to agreements to provide DIP financing;

                (c)      assisting the Debtors in consultations, negotiations, and all other dealings
         with creditors, equity security holders, and other parties-in-interest concerning case
         administration;

                (d)    preparing pleadings, conducting investigations, and making court
         appearances incidental to the administration of the Debtors’ estates;

               (e)    advising the Debtors of their rights, duties, and obligations under the
         Bankruptcy Code, the Bankruptcy Rules and Local Rules, and Orders of this Court;

                (f)    assisting the Debtors in the proposed sale of operating assets in
         accordance with Bankruptcy Code section 363;




00057526.2
                Case 23-10961-BLS         Doc 225     Filed 08/29/23      Page 3 of 4




                 (g)     assisting in the development and formulation of strategies to maximize
         value to the estate;

                (h)     representing the Debtors in litigation matters, including any contested
         matters or adversary proceedings, whether commenced by or against them or the estates;

                (i)      assisting the Debtors in claims reconciliation and distribution, including
         negotiating, settling, and liquidating claims and prosecuting claim objections;

                (j)     representing the Debtors in the liquidation or other disposition of
         remaining estate assets;

                (k)     performing other legal services as the Debtors may request and as may be
         necessary for their effective representation during the pendency of the cases;

                 (l)     rendering general corporate advice, including without limitation advice
         related to periodic public reporting, board of directors support, executive compensation
         and disclosures, and general advice relating to securities; and

                (m)     and other services related to the foregoing.

         4.     Thompson Hine shall apply for compensation for professional services rendered

and reimbursement of expenses incurred in connection with these Chapter 11 Cases in compliance

with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the Bankruptcy

Rules, the Local Rules and any other applicable procedures and orders of the Court. Thompson

Hine intends to make a reasonable effort to comply with the U.S. Trustee’s requests for information

and additional disclosures set forth in the Guidelines for Reviewing Applications for

Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by Attorneys in

Larger Chapter 11Cases Effective as November 1, 2013 in connection with the Application and

interim and final fee applications filed by Thompson Hine in these Chapter 11 Cases.

         5.     All fees and expenses incurred by Thompson Hine and approved by the Court shall

be treated as administrative expenses under section 503 of the Bankruptcy Code.

         6.     The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.


00057526.2
              Case 23-10961-BLS         Doc 225      Filed 08/29/23     Page 4 of 4




         7.    The Debtors are authorized and empowered to execute and deliver such documents,

and to take and perform all actions necessary to implement and effectuate the relief granted in this

Order.

         8.    This Court shall retain exclusive jurisdiction to hear and decide any and all disputes

related to or arising from the implementation, interpretation and enforcement of this Order.




Dated: August 29th, 2023                       BRENDAN L. SHANNON
Wilmington, Delaware                           UNITED STATES BANKRUPTCY JUDGE




00057526.2
